
Filed 12/19/03 by Clerk of Supreme Court



IN THE SUPREME COURT

STATE OF NORTH DAKOTA



ORDER



2003 ND 190 &nbsp;

Supreme Court No. 20030333





In The Matter of The Judicial Vacancy in District Judgeship No. &nbsp;4

with Chambers in Fargo, North Dakota,

East Central Judicial District





[¶1]	On November 13, 2003, the Honorable Michael O. McGuire, Judge of the District Court, with chambers in Fargo, East Central Judicial District, notified the Supreme Court of his intention not to seek reelection when his term ends December 31, 2004. &nbsp;Under Section 27-05-02.1(4) a vacancy is created.

[¶2]	Under Section 27-05-02.1, N.D.C.C., this Court is required to review vacancies that occur and determine, within 90 days of receiving notice of a vacancy, whether the office is necessary for effective judicial administration. &nbsp;This Court may, consistent with that determination, order the vacancy filled or order the vacant office transferred to a judicial district in which an additional judge is necessary, to be filled in that district.

[¶3]	Under N.D. Sup. Ct. Admin. R. 7.2, notice of a written consultation with the attorneys and judges of the East Central Judicial District was posted November 14, 2003, on the website of the Supreme Court. &nbsp;Notice was also electronically provided to all presiding judges of the state. Written comments on the vacancy were permitted through December 17, 2003. &nbsp;For purposes of the consultation provided for under Section 27-05-02.1, N.D.C.C., this procedure is sufficient for determining the disposition of the vacancy.

[¶4]	A Report containing population and caseload trends, and other criteria identified in N.D. Sup. Ct. Admin. R. 7.2, Section 4, was filed December 15, 2003, by the Presiding Judge for the East Central Judicial District. 

[¶5]	Under the criteria of Section 4 of N.D. Sup. Ct. Admin. R. 7.2, the Court has considered all submissions received by the Court and its own administrative records on state-wide weighted caseload data. &nbsp;

[¶6] This Court determines that the office is necessary for effective judicial administration in its present location.

[¶7] IT IS HEREBY ORDERED, that &nbsp;Judgeship No. 4 at Fargo in the East Central Judicial District be filled by election.

 [¶8]		Gerald W. VandeWalle, C.J.

Carol Ronning Kapsner

Dale V. Sandstrom

William A. Neumann

Mary Muehlen Maring

